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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                  CRIMINAL MINUTES - CHANGE OF PLEA


 Case No.       CR 21-00485-DSF                                                          Date        September 19, 2022


 Present: The Honorable          DALE S. FISCHER, UNITED STATES DISTRICT JUDGE
 Interpreter      N/A
                                                                                             Lindsey G Dotson
                                                                                               Ruth C Pinkel
     Patricia Kim for Renee Fisher                        Pat Cuneo                         Thomas F Rybarczyk
                Deputy Clerk                        Court Reporter                         Assistant U.S. Attorney



       U.S.A. v. Defendant(s):         Present    Cust.     Bond         Attorneys for Defendants:      Present App. Ret.

                                                                      2) Brian J Hennigan                  √              √
2) Marilyn Louise Flynn                  √                    √       2) Vicki I Podberesky                √              √
 Proceedings:        ENTRY OF GUILTY PLEA (Held and Completed)

       √        Defendant moves to enter a guilty plea to an Indictment.

        √       Defendant sworn.

        √       Defendant enters new and different plea of GUILTY to Count three.

        √       The Court advises defendant of her Constitutional rights and questions the defendant regarding
                the plea of GUILTY. The Court FINDS there is an independent factual basis for the plea and
                further FINDS the plea is made freely, intelligently and voluntarily, and with a full
                understanding of the nature of the charges, the consequences of the plea and of defendant’s
                Constitutional rights. The Court accepts the plea and orders that the plea be entered.

        √       The Court refers the defendant to the Probation & Pretrial Services Office for an investigation
                and report and the matter is continued to Monday, March 20, 2023 at 8:30 a.m. for sentencing.

        √       The Court vacates the jury trial date for this defendant.

       _√_      The Court, with the concurrence of the Government, allows the defendant to remain on bond and
                advises of the consequences of a violation of terms and conditions or a failure to appear.

                The government is to submit a proposed sentencing order setting sentencing schedule.
                Continuances will be granted only on a specific showing of good cause.


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                                                                                                      Initials of Deputy Clerk: pk
